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                  EXHIBIT 2
ONECHAMPIONSHIP000006
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                                                      Declaration of Matt Hume

                        Matt Hume declares as follows.

                        1.        I am a Vice-President of Operations and Competition for Group One Holdings

              Pte. Ltd.

                        2.         One of my responsibilities in that position is identifying or scouting mixed martial

              arts fighters to sign to fight in the One Championship mixed martial arts promotion.

                        3.         In my role identifying potential fighters for One Championship, I consider

              fighters throughout the world, including fighters who are currently signed to other promoters but

              may enter free-agency in the future. Although many of the fighters in One Championship have

              previously competed in Asian mixed martial arts promotions, I have scouted fighters from North

              America, and while they were fighting for major North American promoters, including Bellator

              and the UFC. Group One Holdings has signed mixed martial arts fighters who resided in North

              America at the time those fighters received a contract offer from One Championship.

                        4.         Group One Holdings competes with Zuffa to sign professional MMA fighters.

              One Championship is not a minor league or feeder league for the UFC.

                        5.         One Championship broadcasts events on cable television in Canada. Viewers in

              the United States and throughout the world can purchase livestreams of One Championship

              events to watch over the internet.

                        6.        To the best of my knowledge, Group One Holdings bas never engaged in any co-

              or cross-promotional events with other mixed martial arts promoters.

                        Executed this 4th day of May, 2017, in Kirkland, Washington.

                                                                                         "Y'vk-Ur JJy~
                                                                                        Matt Hume




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